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    Partner                                                                600 Campus Drive
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    973-549-7350 direct                                                    +1 973 549 7000 main
                                                                           +1 973 360 9831 fax


    Via ECF

    June 3, 2024

    Honorable Rukhsanah L. Singh, U.S. Magistrate Judge
    United States District Court- District of NJ
    Clarkson S. Fisher Building & U.S. Courthouse
    402 East State Street, Court Room 7W
    Trenton, NJ 08608

    Re:       In re: Johnson & Johnson Talcum Powder Products Marketing, Sales
              Practices and Products Liability Litigation - MDL 2738

    Dear Magistrate Judge Singh:

          Pursuant to the Case Management Order entered on February 13, 2024 (ECF No.
   29032), outlining procedures for adjudication of cases where the plaintiff fails to comply with the
   Court Orders on case specific fact discovery and the Plaintiff Profile Form (“PPF”), please see the
   attached list of non-compliant cases. Counsel for these plaintiffs have received notice through
   MDL Centrality (if they are registered there as required by Court Orders) and e-mail (whether
   registered or not).

           Enclosed, for the second time, is a list of 2020 cases which remain deficient in providing a
   PPF. Defendants will file an Order to Show Cause on July 1, 2024, should any of those 2020
   cases continue to fail to provide a PPF. Because of the way the due dates fell, there is no “first
   time” list of overdue fact sheets included with this PPF Report.

             Thank you for your consideration of these matters.

                                                  Respectfully,

                                                  /s/ Susan M. Sharko
                                                  Susan M. Sharko
                                                  Sean C. Garrett
                                                  FAEGRE DRINKER BIDDLE & REATH LLP

                                                  Attorneys for Defendants
                                                  Johnson & Johnson and LLT Management, LLC

   SMS/scg
   Encl: (1)
   cc: Leigh O’Dell, Esq. (via e-mail)
       Michelle Parfitt, Esq., (via e-mail)
       All counsel of record (via ECF)
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     June 3, 2024, 2020 Cases Deficient in Serving a Plaintiff Profile Form
        This is the second month these cases have been listed to the Court. Failure to cure the
       deficiencies will result in the case being the subject of an Order to Show Cause on July 1,
                                                    2024
        Row #                Case Name                         Plaintiff Firm(s)               Current Cause #
          1               Edwards, Latasha                  Andrus Wagstaff, P.C.               3:20-cv-14184
          2                Olson, Vanessa                   Andrus Wagstaff, P.C.               3:20-cv-14188
          3                 Bowers, Harold                  Andrus Wagstaff, P.C.               3:20-cv-14545
          4                   Long, Anne                    Andrus Wagstaff, P.C.               3:20-cv-14547
          5                Cormier, Randall                 Andrus Wagstaff, P.C.               3:20-cv-14567
          6                     Lee, Jill                   Andrus Wagstaff, P.C.               3:20-cv-14669
          7                Hubbard, Glenn                   Andrus Wagstaff, P.C.               3:20-cv-18842
          8                 Christian, Dana                 Andrus Wagstaff, P.C.               3:20-cv-18847
          9                 Daniel, Susan                   Andrus Wagstaff, P.C.               3:20-cv-18876
          10                Horton, Teryka                     Ashcraft & Gerel                 3:20-cv-00475
          11                  Bean, Judy                       Ashcraft & Gerel                 3:20-cv-00476
          12                Hatcher, Paula                     Ashcraft & Gerel                 3:20-cv-00477
          13              Militrano, Elizandra                 Ashcraft & Gerel                 3:20-cv-02443
          14               D'Amico, Peggie                     Ashcraft & Gerel                 3:20-cv-02444
          15             Witthohn, Richard D                   Ashcraft & Gerel                 3:20-cv-06897
          16               Munroe, Ronald                      Ashcraft & Gerel                 3:20-cv-06898
          17               Eischen, Paul R                     Ashcraft & Gerel                 3:20-cv-07299
          18               Sultze, Cynthia L                   Ashcraft & Gerel                 3:20-cv-07824
          19             Molleur, Brian Blake                  Ashcraft & Gerel                 3:20-cv-08448
          20                  Diaz, Ruth                       Ashcraft & Gerel                 3:20-cv-14154
          21               Escalante, Gina                     Ashcraft & Gerel                 3:20-cv-14155
          22               Gilbert, Roberta                    Ashcraft & Gerel                 3:20-cv-14156
          23               Matthews, Elise                     Ashcraft & Gerel                 3:20-cv-14157
          24                Bennett, Judith                    Ashcraft & Gerel                 3:20-cv-17282
          25                Lopez, Okland                      Ashcraft & Gerel                 3:20-cv-17283
          26               Klatt, Christine M                  Ashcraft & Gerel                 3:20-cv-20413
          27               Pinnix, Sue Ellen       Ashcraft & Gerel // Beasley, Allen, Crow,    3:20-cv-15135
                                                        Methvin, Portis & Miles, P.C.
          28              Mottola, Leanne M                 Ashcraft & Gerel, LLP               3:20-cv-00478
          29             Cardamone, Joseph                  Ashcraft & Gerel, LLP               3:20-cv-00605
          30             Rumbaugh, Deborah                  Ashcraft & Gerel, LLP               3:20-cv-00609
          31                 Farr, Carolyn                  Ashcraft & Gerel, LLP               3:20-cv-00869
          32              Bower, Sandra Lee                 Ashcraft & Gerel, LLP               3:20-cv-01068
          33              Gershenfeld, Janet                Ashcraft & Gerel, LLP               3:20-cv-01069
          34                 Katz, Patrice                  Ashcraft & Gerel, LLP               3:20-cv-01071
          35                 Sloan, Carol                   Ashcraft & Gerel, LLP               3:20-cv-01072
          36               Winnett, Denyse                  Ashcraft & Gerel, LLP               3:20-cv-02446
          37               Eber, Jessica R                  Ashcraft & Gerel, LLP               3:20-cv-03152
          38             Hoover, Charlie Doll               Ashcraft & Gerel, LLP               3:20-cv-03155
          39               Smoot, Deborah                   Ashcraft & Gerel, LLP               3:20-cv-03159
          40                Stockton, June                  Ashcraft & Gerel, LLP               3:20-cv-03274
          41                Waters, Donna                   Ashcraft & Gerel, LLP               3:20-cv-03275
          42             Wojceshonek, Linda                 Ashcraft & Gerel, LLP               3:20-cv-03716
          43             Piscione Jr., Nicholas             Ashcraft & Gerel, LLP               3:20-cv-04289
          44             Reese, James William               Ashcraft & Gerel, LLP               3:20-cv-04290




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        Row #              Case Name                               Plaintiff Firm(s)                  Current Cause #
         45             Struve, Kenneth E.                       Ashcraft & Gerel, LLP                 3:20-cv-04291
         46             Reese, Teri Elaine                       Ashcraft & Gerel, LLP                 3:20-cv-04939
         47            Carver, Margarita G                       Ashcraft & Gerel, LLP                 3:20-cv-05817
         48            White, Hoke DeLeon                        Ashcraft & Gerel, LLP                 3:20-cv-11584
         49             Burge, Laura Sue                         Ashcraft & Gerel, LLP                 3:20-cv-20411
         50             Reynolds, Ellen M                        Ashcraft & Gerel, LLP                 3:20-cv-20414
         51            Mahoney, James M                          Ashcraft & Gerel, LLP                 3:20-cv-20415
         52            Leighton, Tammy D                         Ashcraft & Gerel, LLP                 3:20-cv-20454
         53             Reilly, Alice-Marie          Ashcraft & Gerel, LLP // Beasley, Allen, Crow,    3:20-cv-07557
                                                             Methvin, Portis & Miles, P.C.
         54          Nogueira, Maria Espinal           Aylstock, Witkin, Kreis & Overholtz, PLLC       3:20-cv-05181
         55               Tucker, Mary                 Aylstock, Witkin, Kreis & Overholtz, PLLC       3:20-cv-16062
         56              Caldwell, Judith              Aylstock, Witkin, Kreis & Overholtz, PLLC       3:20-cv-16156
         57             Engelmann, Maria               Aylstock, Witkin, Kreis & Overholtz, PLLC       3:20-cv-16169
         58              Deforero, Karen               Aylstock, Witkin, Kreis & Overholtz, PLLC       3:20-cv-16444
         59              Palmer, Bobbie                Aylstock, Witkin, Kreis & Overholtz, PLLC       3:20-cv-16501
         60               Alonzo, Blanca               Aylstock, Witkin, Kreis & Overholtz, PLLC       3:20-cv-17794
         61               Flores, Angela               Aylstock, Witkin, Kreis & Overholtz, PLLC       3:20-cv-18505
         62           Innocenti, Anne-Marie            Aylstock, Witkin, Kreis & Overholtz, PLLC       3:20-cv-18582
         63               Lowry, Diane                 Aylstock, Witkin, Kreis & Overholtz, PLLC       3:20-cv-18713
         64             Garvin, Billy John             Aylstock, Witkin, Kreis & Overholtz, PLLC       3:20-cv-19870
         65             Smarra, Rosemary                          Balzarini & Watson                   3:20-cv-14485
         66            Tuinstra, Judi Marie            Baum, Hedlund, Aristei & Goldman, P.C.          3:20-cv-05892
         67             Carroll, Stephen J             Baum, Hedlund, Aristei & Goldman, P.C.          3:20-cv-06190
         68      Barreto De Hiller, Lydee Jeanette     Baum, Hedlund, Aristei & Goldman, P.C.          3:20-cv-16811
         69         Christensen, Leanne Jane           Baum, Hedlund, Aristei & Goldman, P.C.          3:20-cv-19659
         70              Mills, Rosemarie                         Belluck & Fox, LLP                   3:20-cv-00016
         71              Gullotti, Sandra                         Belluck & Fox, LLP                   3:20-cv-02517
         72          Vanburen, Elizabeth Ann                      Belluck & Fox, LLP                   3:20-cv-20049
         73                Cohn, Amy                            Bernstein Liebhard LLP                 3:20-cv-15234
         74            Trevino, Magdalena                       Blizzard & Nabers, LLP                 3:20-cv-08072
         75             Petrucci, Carmella                        Burns Charest LLP                    3:20-cv-17298
         76              Apointe-Ramos                       Carazo Quetglas Law Offices               3:20-cv-20362
         77        Cordero-Maldonado, Gloria                 Carazo Quetglas Law Offices               3:20-cv-20368
         78          Cruz-Guzman, Carmen                     Carazo Quetglas Law Offices               3:20-cv-20385
         79                Ortiz, Zulma                      Carazo Quetglas Law Offices               3:20-cv-20391
         80            Cancel-ayala, Norma                   Carazo Quetglas Law Offices               3:20-cv-20402
         81          Cardona-Acevedo, Aidee                  Carazo Quetglas Law Offices               3:20-cv-20407
         82           Tamburello, Joanne B.                        Cellino Law LLP                     3:20-cv-00023
         83               Allback, Claire                          Cellino Law LLP                     3:20-cv-00024
         84              Leonardi, Karen                           Cellino Law LLP                     3:20-cv-00026
         85              Baran, Emilia H                           Cellino Law LLP                     3:20-cv-00072
         86                Kye, Sherron                            Cellino Law LLP                     3:20-cv-00073
         87             Wagner, Barbara J                          Cellino Law LLP                     3:20-cv-00084
         88               Khalid, Shaista                          Cellino Law LLP                     3:20-cv-00085




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        Row #             Case Name              Plaintiff Firm(s)   Current Cause #
         89           Skoutelas, Vasiliki        Cellino Law LLP      3:20-cv-00087
         90          Smoudianis, Christine       Cellino Law LLP      3:20-cv-00092
         91           Gonzalez, Anne S           Cellino Law LLP      3:20-cv-00094
         92              Bartasi, Marc           Cellino Law LLP      3:20-cv-00095
         93             Nelson, Mireya           Cellino Law LLP      3:20-cv-00118
         94         Farmer-Jordan, Shirley       Cellino Law LLP      3:20-cv-00172
         95            Wilson, Joyce M           Cellino Law LLP      3:20-cv-00185
         96              Letke, Frank            Cellino Law LLP      3:20-cv-00244
         97          Bridgewater, Dow Lee        Cellino Law LLP      3:20-cv-00245
         98           Montanez, Ronaldo          Cellino Law LLP      3:20-cv-00290
         99              Darr, Guy W             Cellino Law LLP      3:20-cv-00294
         100             Davis, Arthur           Cellino Law LLP      3:20-cv-00326
         101            Pattit, Ronald C         Cellino Law LLP      3:20-cv-00667
         102            Palmer, Harvey           Cellino Law LLP      3:20-cv-00708
         103          DeTorre, Robert P          Cellino Law LLP      3:20-cv-00740
         104          Hamilton, Patricia D       Cellino Law LLP      3:20-cv-00804
         105           Barnstorf, Paul T         Cellino Law LLP      3:20-cv-01702
         106            Kolesar, Gail K          Cellino Law LLP      3:20-cv-01704
         107         Malanoski, Rosemarie        Cellino Law LLP      3:20-cv-01753
         108             Wood, Jayne             Cellino Law LLP      3:20-cv-02077
         109           Sweat, Esthmon            Cellino Law LLP      3:20-cv-02269
         110             Peay, Tiffany           Cellino Law LLP      3:20-cv-02281
         111           Meirowitz, Clifford       Cellino Law LLP      3:20-cv-02293
         112             Norton, John            Cellino Law LLP      3:20-cv-02310
         113          Francis, Michael A         Cellino Law LLP      3:20-cv-02312
         114            Arnold, Kathryn          Cellino Law LLP      3:20-cv-02711
         115            Foster, Thomas           Cellino Law LLP      3:20-cv-02762
         116        Rodriguez, Kathleen L.       Cellino Law LLP      3:20-cv-03150
         117          Holmes, George A           Cellino Law LLP      3:20-cv-05712
         118         Amendola, Rachelle          Cellino Law LLP      3:20-cv-05717
         119         Severino, Jeremiah D        Cellino Law LLP      3:20-cv-05723
         120            Romani, Vivian           Cellino Law LLP      3:20-cv-05761
         121          Mkrtchyan, Edvard          Cellino Law LLP      3:20-cv-05768
         122           Biber, Sr., John C        Cellino Law LLP      3:20-cv-05951
         123          Cooper, William D          Cellino Law LLP      3:20-cv-06375
         124          Drzymala, Wayne R          Cellino Law LLP      3:20-cv-07603
         125          Drzymala, Wayne R          Cellino Law LLP      3:20-cv-07606
         126          Brundidge, Mary L          Cellino Law LLP      3:20-cv-07607
         127          Majcher, Christie L        Cellino Law LLP      3:20-cv-07609
         128            Vera, Elizabeth          Cellino Law LLP      3:20-cv-08237
         129         Buffamonti, Michael D       Cellino Law LLP      3:20-cv-08394
         130           Magnanti, James           Cellino Law LLP      3:20-cv-08711
         131           Filicetti, Karen M        Cellino Law LLP      3:20-cv-09525
         132           Loveland, Nancy           Cellino Law LLP      3:20-cv-09527
         133            Zuranski, Karen          Cellino Law LLP      3:20-cv-11171



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        Row #             Case Name                        Plaintiff Firm(s)               Current Cause #
         134             Mazgaj, Joan                       Cellino Law LLP                 3:20-cv-11173
         135           LaBarbera, Philip                    Cellino Law LLP                 3:20-cv-12390
         136            Nayshlos, Irina                     Cellino Law LLP                 3:20-cv-12391
         137           Kissoon, Mohabir                     Cellino Law LLP                 3:20-cv-12393
         138              Cutlip, Terra                     Cellino Law LLP                 3:20-cv-13069
         139             Suarez, Paul                       Cellino Law LLP                 3:20-cv-13112
         140          Hulsenberg, Tara A        Cellino Law LLP // The Barnes Firm, P.C.    3:20-cv-00096
         141           Van Ord, Ronald L        Cellino Law LLP // The Barnes Firm, P.C.    3:20-cv-04241
         142            Singleton, Mary                  Cohen & Malad, LLP                 3:20-cv-09040
         143          Walpole, Rosemarie                Cohen, Placitella & Roth            3:20-cv-08995
         144             Mortz, Suzette             Davis, Bethune & Jones, L.L.C.          3:20-cv-08076
         145             Perkins, Joyce             Davis, Bethune & Jones, L.L.C.          3:20-cv-08083
         146            Helton, Frances             Davis, Bethune & Jones, L.L.C.          3:20-cv-08507
         147         Raines-Drew, Justine           Davis, Bethune & Jones, L.L.C.          3:20-cv-08508
         148            Conover, Susan              Davis, Bethune & Jones, L.L.C.          3:20-cv-08510
         149             Davis, Joanna              Davis, Bethune & Jones, L.L.C.          3:20-cv-08511
         150           Simmons, Latisha             Davis, Bethune & Jones, L.L.C.          3:20-cv-08643
         151            Creech, Dorothy             Davis, Bethune & Jones, L.L.C.          3:20-cv-08647
         152            Peace, Maggie               Davis, Bethune & Jones, L.L.C.          3:20-cv-08653
         153             Fagot, Desrie              Davis, Bethune & Jones, L.L.C.          3:20-cv-09249
         154           Grenzow, Debra S             Davis, Bethune & Jones, L.L.C.          3:20-cv-09251
         155           Hughes, Margaret             Davis, Bethune & Jones, L.L.C.          3:20-cv-09254
         156            Martin, Joann G             Davis, Bethune & Jones, L.L.C.          3:20-cv-09255
         157            Rivera, Juanita             Davis, Bethune & Jones, L.L.C.          3:20-cv-09257
         158            Uitenham, Tina              Davis, Bethune & Jones, L.L.C.          3:20-cv-09259
         159            Purnell, Lakeyah            Davis, Bethune & Jones, L.L.C.          3:20-cv-09261
         160            Medrano, Nicole             Davis, Bethune & Jones, L.L.C.          3:20-cv-09263
         161       Robinson-Miodovski, Mollie       Davis, Bethune & Jones, L.L.C.          3:20-cv-10022
         162           Vollaire, Vanessa            Davis, Bethune & Jones, L.L.C.          3:20-cv-10139
         163            Owens, Andrea               Davis, Bethune & Jones, L.L.C.          3:20-cv-10145
         164             Page, Nichelle             Davis, Bethune & Jones, L.L.C.          3:20-cv-10147
         165             Moreno, Silvia             Davis, Bethune & Jones, L.L.C.          3:20-cv-10149
         166             Ray, Sabrina               Davis, Bethune & Jones, L.L.C.          3:20-cv-10153
         167          Castaneda, Raydel             Davis, Bethune & Jones, L.L.C.          3:20-cv-10155
         168            Carrillo, Maria V           Davis, Bethune & Jones, L.L.C.          3:20-cv-10277
         169           Avdeyeva, Yelena             Davis, Bethune & Jones, L.L.C.          3:20-cv-10280
         170              Knox, Debra               Davis, Bethune & Jones, L.L.C.          3:20-cv-10575
         171              White, Dana               Davis, Bethune & Jones, L.L.C.          3:20-cv-10578
         172            Rumple, Regina              Davis, Bethune & Jones, L.L.C.          3:20-cv-10993
         173            Warring, Mary J             Davis, Bethune & Jones, L.L.C.          3:20-cv-11402
         174        Briggs-Harlow, Darlene A        Davis, Bethune & Jones, L.L.C.          3:20-cv-11404
         175             Flynn, Susan               Davis, Bethune & Jones, L.L.C.          3:20-cv-11411
         176        Dagh-Goodman, Debra             Davis, Bethune & Jones, L.L.C.          3:20-cv-11415
         177           Batista, Monica J            Davis, Bethune & Jones, L.L.C.          3:20-cv-11416
         178             Butt, Dolores              Davis, Bethune & Jones, L.L.C.          3:20-cv-11648



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        Row #             Case Name                       Plaintiff Firm(s)         Current Cause #
         179             Perry, Sandra             Davis, Bethune & Jones, L.L.C.    3:20-cv-11658
         180           Mack, Linshasa A            Davis, Bethune & Jones, L.L.C.    3:20-cv-11897
         181           Sweeten, Melissa J          Davis, Bethune & Jones, L.L.C.    3:20-cv-11901
         182             Barsh, Eleanor            Davis, Bethune & Jones, L.L.C.    3:20-cv-12169
         183          Carbonneau, Carol A          Davis, Bethune & Jones, L.L.C.    3:20-cv-12174
         184            DaVazier, Donna            Davis, Bethune & Jones, L.L.C.    3:20-cv-12175
         185             Gaffney, Aleen            Davis, Bethune & Jones, L.L.C.    3:20-cv-12178
         186            Hanson, Sherry             Davis, Bethune & Jones, L.L.C.    3:20-cv-12372
         187             Hare, Kristine            Davis, Bethune & Jones, L.L.C.    3:20-cv-12374
         188            Iniguez, Johanna           Davis, Bethune & Jones, L.L.C.    3:20-cv-12375
         189             Melby, Melissa            Davis, Bethune & Jones, L.L.C.    3:20-cv-12378
         190           Mendoza, Bridget            Davis, Bethune & Jones, L.L.C.    3:20-cv-12379
         191            Godich, Teresa L           Davis, Bethune & Jones, L.L.C.    3:20-cv-13613
         192            Rucker, Tiffany P          Davis, Bethune & Jones, L.L.C.    3:20-cv-13614
         193            Latham, Betty N            Davis, Bethune & Jones, L.L.C.    3:20-cv-13617
         194           Spradlin, Teresa G          Davis, Bethune & Jones, L.L.C.    3:20-cv-13620
         195         Van Ryder, Carmen A           Davis, Bethune & Jones, L.L.C.    3:20-cv-13622
         196            Radford, Connie            Davis, Bethune & Jones, L.L.C.    3:20-cv-13625
         197              Favre, Paula             Davis, Bethune & Jones, L.L.C.    3:20-cv-13630
         198             Bensch, Carol             Davis, Bethune & Jones, L.L.C.    3:20-cv-13634
         199            Hughes, Chastity           Davis, Bethune & Jones, L.L.C.    3:20-cv-14022
         200            Skelton, Jennifer          Davis, Bethune & Jones, L.L.C.    3:20-cv-14024
         201         Menefee, Nashernedra          Davis, Bethune & Jones, L.L.C.    3:20-cv-14029
         202            Reyes, Zuleyka             Davis, Bethune & Jones, L.L.C.    3:20-cv-14568
         203            Heinkel, Barbara           Davis, Bethune & Jones, L.L.C.    3:20-cv-14572
         204              Page, David              Davis, Bethune & Jones, L.L.C.    3:20-cv-14579
         205           Shelley, Altavia F          Davis, Bethune & Jones, L.L.C.    3:20-cv-14585
         206           Bergman, Selma J            Davis, Bethune & Jones, L.L.C.    3:20-cv-15362
         207               Cruz, Olga              Davis, Bethune & Jones, L.L.C.    3:20-cv-15363
         208       Sweitzer-Simental, Tammy        Davis, Bethune & Jones, L.L.C.    3:20-cv-15364
         209             Carter, Connie            Davis, Bethune & Jones, L.L.C.    3:20-cv-15366
         210           Shannon, Summer             Davis, Bethune & Jones, L.L.C.    3:20-cv-15367
         211            Roney, Madeline            Davis, Bethune & Jones, L.L.C.    3:20-cv-15369
         212             Gallup, Regina            Davis, Bethune & Jones, L.L.C.    3:20-cv-15370
         213           Hernandez, Diana            Davis, Bethune & Jones, L.L.C.    3:20-cv-18300
         214           Simone, Deborah             Davis, Bethune & Jones, L.L.C.    3:20-cv-18308
         215            Johnson, Joyce             Davis, Bethune & Jones, L.L.C.    3:20-cv-18310
         216           Hernandez, Diana            Davis, Bethune & Jones, L.L.C.    3:20-cv-18312
         217             Bracken, Carla            Davis, Bethune & Jones, L.L.C.    3:20-cv-20248
         218              Lara, Sarah                      Diamond Law               3:20-cv-06835
         219            Blanche, Katona                  Driscoll Firm, P.C.         3:20-cv-01337
         220              Majko, Kaley                   Driscoll Firm, P.C.         3:20-cv-01341
         221        Naranjo, Evangely Nieves             Driscoll Firm, P.C.         3:20-cv-01342
         222            Toney, Heather                   Driscoll Firm, P.C.         3:20-cv-01343
         223           Wilhoite, Leigh Ann               Driscoll Firm, P.C.         3:20-cv-01344



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        Row #            Case Name              Plaintiff Firm(s)     Current Cause #
         224             Yuhas, Anna            Driscoll Firm, P.C.    3:20-cv-01345
         225            Skiles, David           Driscoll Firm, P.C.    3:20-cv-01391
         226            Usher, Wanda            Driscoll Firm, P.C.    3:20-cv-02615
         227            Roberts, Zaida          Driscoll Firm, P.C.    3:20-cv-03169
         228          Stewart, Yolanda          Driscoll Firm, P.C.    3:20-cv-06167
         229             Juarez, April          Driscoll Firm, P.C.    3:20-cv-06229
         230          Goldstein, Barbara        Driscoll Firm, P.C.    3:20-cv-06230
         231           Jensen, Cheryl           Driscoll Firm, P.C.    3:20-cv-06231
         232            Jones, Denise           Driscoll Firm, P.C.    3:20-cv-06232
         233           Meadows, Judy            Driscoll Firm, P.C.    3:20-cv-06233
         234           Marlow, Audrey           Driscoll Firm, P.C.    3:20-cv-06234
         235           Seibles, Brittainy       Driscoll Firm, P.C.    3:20-cv-06247
         236           Peace, Maggie            Driscoll Firm, P.C.    3:20-cv-06412
         237            Byrd, Patricia          Driscoll Firm, P.C.    3:20-cv-06420
         238           Embry, Christina         Driscoll Firm, P.C.    3:20-cv-06428
         239           Myrick, Rhonda           Driscoll Firm, P.C.    3:20-cv-06541
         240           Peace, Tammy             Driscoll Firm, P.C.    3:20-cv-06542
         241          Oxendine, Elaine          Driscoll Firm, P.C.    3:20-cv-06543
         242            Hines, Earlitha         Driscoll Firm, P.C.    3:20-cv-06740
         243           Flores, Veronica         Driscoll Firm, P.C.    3:20-cv-07537
         244           Hinrichs, Gayle          Driscoll Firm, P.C.    3:20-cv-07611
         245          Johnson, Martha           Driscoll Firm, P.C.    3:20-cv-07614
         246            Johnson, Lillie         Driscoll Firm, P.C.    3:20-cv-07615
         247           Brock, Clarissa          Driscoll Firm, P.C.    3:20-cv-07620
         248           Smith, Barbara I         Driscoll Firm, P.C.    3:20-cv-07622
         249         Chambers, Jasmine          Driscoll Firm, P.C.    3:20-cv-08972
         250             Dodge, Mary            Driscoll Firm, P.C.    3:20-cv-09726
         251             Yeager, Kelli          Driscoll Firm, P.C.    3:20-cv-09731
         252         Gordy, Ilda Moralez        Driscoll Firm, P.C.    3:20-cv-12086
         253          McDonald, Robin           Driscoll Firm, P.C.    3:20-cv-12164
         254             Moore, Katy            Driscoll Firm, P.C.    3:20-cv-12165
         255          Vasquez, Norma            Driscoll Firm, P.C.    3:20-cv-12457
         256           Fryrear, Tammy           Driscoll Firm, P.C.    3:20-cv-12536
         257             Boyle, Misti           Driscoll Firm, P.C.    3:20-cv-12663
         258          Garcia, Guadalupe         Driscoll Firm, P.C.    3:20-cv-12667
         259          McGuire, Charlotte        Driscoll Firm, P.C.    3:20-cv-12935
         260             Pikula, Teri           Driscoll Firm, P.C.    3:20-cv-13522
         261          Fernandez, Nicole         Driscoll Firm, P.C.    3:20-cv-13600
         262          Esparza, Melissa          Driscoll Firm, P.C.    3:20-cv-13607
         263           Assenti, Denise          Driscoll Firm, P.C.    3:20-cv-13666
         264           Klein, Kathleen          Driscoll Firm, P.C.    3:20-cv-13686
         265             Montez, Eva            Driscoll Firm, P.C.    3:20-cv-13689
         266           Rivera, Sandra           Driscoll Firm, P.C.    3:20-cv-14199
         267          Patterson, Rickey         Driscoll Firm, P.C.    3:20-cv-14207
         268             Judy, Shawn            Driscoll Firm, P.C.    3:20-cv-14216



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        Row #            Case Name                 Plaintiff Firm(s)       Current Cause #
         269           Gardner, Annie              Driscoll Firm, P.C.      3:20-cv-14223
         270          Cobb, Mary Jane              Driscoll Firm, P.C.      3:20-cv-14258
         271           Watson, Melisa              Driscoll Firm, P.C.      3:20-cv-14259
         272          Arambula, Kelsey             Driscoll Firm, P.C.      3:20-cv-14261
         273           Santee, Donald              Driscoll Firm, P.C.      3:20-cv-14267
         274            Stovall, Kyra              Driscoll Firm, P.C.      3:20-cv-14273
         275         Sandoval, Kathie Jo           Driscoll Firm, P.C.      3:20-cv-15215
         276          Simmons, Terica              Driscoll Firm, P.C.      3:20-cv-15220
         277           Windsor, Carol              Driscoll Firm, P.C.      3:20-cv-15244
         278           Johnson, Kellian            Driscoll Firm, P.C.      3:20-cv-16780
         279          Ferrer, Giavonna             Driscoll Firm, P.C.      3:20-cv-17082
         280             Davis, Brad               Driscoll Firm, P.C.      3:20-cv-17200
         281           Clarke, Anthony             Driscoll Firm, P.C.      3:20-cv-18707
         282           Copper, Dianne              Driscoll Firm, P.C.      3:20-cv-18711
         283            Blevins, Lora              Driscoll Firm, P.C.      3:20-cv-20422
         284            Bush, Tresha               Driscoll Firm, P.C.      3:20-cv-20427
         285           Harris, Chandra             Driscoll Firm, P.C.      3:20-cv-20429
         286            Hunt, Lynette              Driscoll Firm, P.C.      3:20-cv-20431
         287           Lewis, Brittany             Driscoll Firm, P.C.      3:20-cv-20432
         288          Marchese, Linda              Driscoll Firm, P.C.      3:20-cv-20440
         289           Nichols, Lasonia            Driscoll Firm, P.C.      3:20-cv-20447
         290           Bertanza, Carol             Driscoll Firm, P.C.      3:20-cv-20448
         291           Hoffman, Janell             Driscoll Firm, P.C.      3:20-cv-20518
         292           Halvorson, June             Driscoll Firm, P.C.      3:20-cv-20521
         293           Berry, Michelle             Driscoll Firm, P.C.      3:20-cv-20548
         294            Brady, JoAnn               Driscoll Firm, P.C.      3:20-cv-20551
         295             Dyer, Nellie              Driscoll Firm, P.C.      3:20-cv-20556
         296          Elswick, Rhonda              Feldman & Pinto          3:20-cv-05539
         297           Myers, Halina S             Feldman & Pinto          3:20-cv-06561
         298            Doub, William          Fitzgerald Law Group, LLC    3:20-cv-08990
         299          Jackson, Maureen           Fletcher V. Trammell       3:20-cv-00102
         300          Lalaind, Clarence          Fletcher V. Trammell       3:20-cv-00401
         301            Weaver, Lori             Fletcher V. Trammell       3:20-cv-00604
         302          McCully, Kimberly          Fletcher V. Trammell       3:20-cv-01615
         303            Mills, Donna             Fletcher V. Trammell       3:20-cv-01867
         304          Leonard, Latanya           Fletcher V. Trammell       3:20-cv-01983
         305          Hamolton, Melodie          Fletcher V. Trammell       3:20-cv-02021
         306            Collins, Terry           Fletcher V. Trammell       3:20-cv-02087
         307            Dereg, Peggy             Fletcher V. Trammell       3:20-cv-02103
         308          Stutsman, Mickey           Fletcher V. Trammell       3:20-cv-02215
         309           Delgrolice, Judy          Fletcher V. Trammell       3:20-cv-02835
         310          Culpepper, James           Fletcher V. Trammell       3:20-cv-02850
         311             Miller, Linda           Fletcher V. Trammell       3:20-cv-02860
         312            Davis, Evelyn            Fletcher V. Trammell       3:20-cv-02962
         313         Dipaolo-Copp, Jodi          Fletcher V. Trammell       3:20-cv-03004



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        Row #            Case Name                 Plaintiff Firm(s)    Current Cause #
         314            Meehan, Judy             Fletcher V. Trammell    3:20-cv-03123
         315             Drook, Joye             Fletcher V. Trammell    3:20-cv-04254
         316             Staley, Stacy           Fletcher V. Trammell    3:20-cv-04262
         317            Simons, Jean             Fletcher V. Trammell    3:20-cv-04431
         318         Wagenmann, Ronald           Fletcher V. Trammell    3:20-cv-04599
         319           Hunter, Kenneth           Fletcher V. Trammell    3:20-cv-04619
         320            Sparks, Jesse            Fletcher V. Trammell    3:20-cv-05114
         321            Starks, Dorothy          Fletcher V. Trammell    3:20-cv-05120
         322         Pierre-Louise, Glynis       Fletcher V. Trammell    3:20-cv-05122
         323         Livingston, Lashawn         Fletcher V. Trammell    3:20-cv-06219
         324            Schults, Stacy           Fletcher V. Trammell    3:20-cv-06318
         325           Mitchell, Kathryn         Fletcher V. Trammell    3:20-cv-06319
         326             Tornes, Leyla           Fletcher V. Trammell    3:20-cv-06323
         327            Bell, Margaret           Fletcher V. Trammell    3:20-cv-06324
         328           Shepard, Sherri           Fletcher V. Trammell    3:20-cv-06411
         329            Ginobile, Carlo          Fletcher V. Trammell    3:20-cv-06618
         330             Twait, Brian            Fletcher V. Trammell    3:20-cv-06647
         331            Cooper, Shirley          Fletcher V. Trammell    3:20-cv-06650
         332           Overton, Brenda           Fletcher V. Trammell    3:20-cv-08097
         333           Williams, La Va'          Fletcher V. Trammell    3:20-cv-08166
         334            Brooks, Denise           Fletcher V. Trammell    3:20-cv-08182
         335           Green, Deborah            Fletcher V. Trammell    3:20-cv-08185
         336            Parker, Juanita          Fletcher V. Trammell    3:20-cv-08249
         337          Rowe-Barth, Brian          Fletcher V. Trammell    3:20-cv-08258
         338             Bond, Skyler            Fletcher V. Trammell    3:20-cv-08278
         339           Crawford, Megan           Fletcher V. Trammell    3:20-cv-08282
         340           Suchanek, Paul            Fletcher V. Trammell    3:20-cv-08344
         341             Brown, Kerry            Fletcher V. Trammell    3:20-cv-08372
         342            Flores, Patricia         Fletcher V. Trammell    3:20-cv-08409
         343             Homan, Ruth             Fletcher V. Trammell    3:20-cv-08412
         344         Morris, Teazu-Tatiana       Fletcher V. Trammell    3:20-cv-08418
         345            Becker, Jaime            Fletcher V. Trammell    3:20-cv-08746
         346           Simonson, Joann           Fletcher V. Trammell    3:20-cv-08767
         347           Hudson, Barbara           Fletcher V. Trammell    3:20-cv-08771
         348           Jackson, Barbara          Fletcher V. Trammell    3:20-cv-08777
         349         Harris, Harriet Jones       Fletcher V. Trammell    3:20-cv-09462
         350             James, Kayla            Fletcher V. Trammell    3:20-cv-09468
         351            Baker, Melissa           Fletcher V. Trammell    3:20-cv-09485
         352            Zornes, Karen            Fletcher V. Trammell    3:20-cv-09486
         353          Gonzales, Jerilyn D        Fletcher V. Trammell    3:20-cv-09487
         354              Smith, Tina            Fletcher V. Trammell    3:20-cv-09518
         355           Williams, Mable           Fletcher V. Trammell    3:20-cv-09563
         356            Enciso, Robert           Fletcher V. Trammell    3:20-cv-09639
         357            Jones, Yashika           Fletcher V. Trammell    3:20-cv-09644
         358            Johnson, Doris           Fletcher V. Trammell    3:20-cv-09813



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     Row #             Case Name                     Plaintiff Firm(s)    Current Cause #
      359              West, Donnel                Fletcher V. Trammell    3:20-cv-09815
      360             Johnson, Judy                Fletcher V. Trammell    3:20-cv-09821
      361               Allen, Peter               Fletcher V. Trammell    3:20-cv-09838
      362             Taylor, James                Fletcher V. Trammell    3:20-cv-09845
      363            Causway, Juanita              Fletcher V. Trammell    3:20-cv-09848
      364            Barber, Danielle              Fletcher V. Trammell    3:20-cv-09849
      365             Winters, Patsy               Fletcher V. Trammell    3:20-cv-09867
      366         Wynn-Yeldell, Adriana            Fletcher V. Trammell    3:20-cv-09872
      367            Bernard, Marthea              Fletcher V. Trammell    3:20-cv-09874
      368             Silliven, Craig              Fletcher V. Trammell    3:20-cv-09879
      369             Johnson, Mary                Fletcher V. Trammell    3:20-cv-09881
      370            Meadows, Luana                Fletcher V. Trammell    3:20-cv-09887
      371             Chestnut, Willie             Fletcher V. Trammell    3:20-cv-10001
      372              Wise, William               Fletcher V. Trammell    3:20-cv-10018
      373            Barnett, Michael              Fletcher V. Trammell    3:20-cv-10979
      374            Rodriguez, Daisy              Fletcher V. Trammell    3:20-cv-11006
      375             Adams, Brenda                Fletcher V. Trammell    3:20-cv-11115
      376      Bluitt-Hechavarria, Schevonne       Fletcher V. Trammell    3:20-cv-11141
      377              Brown, Onrik                Fletcher V. Trammell    3:20-cv-11934
      378        Pinckney-Dugan, Kristen           Fletcher V. Trammell    3:20-cv-11955
      379              Lee, Deborah                Fletcher V. Trammell    3:20-cv-11993
      380            Laster, Michaun               Fletcher V. Trammell    3:20-cv-12003
      381           Venedicto, Norma               Fletcher V. Trammell    3:20-cv-12048
      382            Murray, Carolyn               Fletcher V. Trammell    3:20-cv-12127
      383            Williams, Jeffery             Fletcher V. Trammell    3:20-cv-12131
      384            Torres, Kimberly              Fletcher V. Trammell    3:20-cv-12135
      385             Griffin, Timothy             Fletcher V. Trammell    3:20-cv-12140
      386            Haynes, Maranda               Fletcher V. Trammell    3:20-cv-12144
      387           Nwokogba, Melody               Fletcher V. Trammell    3:20-cv-12152
      388            Johnson, Avonna               Fletcher V. Trammell    3:20-cv-12202
      389            Pastore, Jennifer             Fletcher V. Trammell    3:20-cv-12889
      390         Gravitt-Evans, Brenda            Fletcher V. Trammell    3:20-cv-12970
      391             Williams, Diane              Fletcher V. Trammell    3:20-cv-12978
      392        Schaefer-Rogers, Kristin          Fletcher V. Trammell    3:20-cv-13023
      393               Soto, Fred                 Fletcher V. Trammell    3:20-cv-13040
      394            Dunn, Nakeisha                Fletcher V. Trammell    3:20-cv-13111
      395               Hamm, Joe                  Fletcher V. Trammell    3:20-cv-13366
      396             Chester, Veda                Fletcher V. Trammell    3:20-cv-13369
      397           Stephenson, Cathy              Fletcher V. Trammell    3:20-cv-13474
      398            White, Charlotte              Fletcher V. Trammell    3:20-cv-13492
      399             Brand, Marilyn               Fletcher V. Trammell    3:20-cv-13652
      400            McCracken, Kelly              Fletcher V. Trammell    3:20-cv-14037
      401              Brock, Roger                Fletcher V. Trammell    3:20-cv-14044
      402             Granger, Terry               Fletcher V. Trammell    3:20-cv-14287
      403              Hollen, Lesa                Fletcher V. Trammell    3:20-cv-16180



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     Row #             Case Name                            Plaintiff Firm(s)               Current Cause #
      404            Hughes, Nicole                       Fletcher V. Trammell               3:20-cv-16244
      405            Mendoza, Maria                       Fletcher V. Trammell               3:20-cv-16815
      406            Warga, Nancie                        Fletcher V. Trammell               3:20-cv-16817
      407              Dictor, Paul                       Fletcher V. Trammell               3:20-cv-17322
      408            Smith, Catherine                     Fletcher V. Trammell               3:20-cv-17461
      409             Smith, James                        Fletcher V. Trammell               3:20-cv-18632
      410        Wilson, Loretta Anderson                     Frazer PLC                     3:20-cv-18464
      411             Sorrow, Vivian                     Gancedo Law Firm, Inc               3:20-cv-14196
      412             Rubido, Oscar                         Girardi & Keese                  3:20-cv-13437
      413            Zanghi, Frances                      Goldstein Greco PC                 3:20-cv-00090
      414           Worsley, Charlotte                    Goldstein Greco PC                 3:20-cv-08190
      415            Shelton, Patricia               Heninger Garrison Davis, LLC            3:20-cv-06554
      416          Devargas, Casandra         Holland Law // Mueller Law // Gori Julian &    3:20-cv-00911
                                                          Associates, P.C.
      417             Barnett, Jadie              Jason J. Joy & Assciates P.L.L.C.          3:20-cv-01238
      418          Newton, Mary Gene                Jason J. Joy & Assciates P.L.L.C.        3:20-cv-02878
      419            Morris, Claudia                Jason J. Joy & Assciates P.L.L.C.        3:20-cv-03713
      420            Camacho, Maria                 Jason J. Joy & Assciates P.L.L.C.        3:20-cv-07210
      421            Cooper, Melissa                Jason J. Joy & Assciates P.L.L.C.        3:20-cv-07301
      422              Heriot, Corry                Jason J. Joy & Assciates P.L.L.C.        3:20-cv-09948
      423            Delgado, Jenna                 Jason J. Joy & Assciates P.L.L.C.        3:20-cv-10031
      424         McLennan, Marianne                Jason J. Joy & Assciates P.L.L.C.        3:20-cv-15111
      425             Bentley, Janet                Jason J. Joy & Assciates P.L.L.C.        3:20-cv-15478
      426        Stuckenscheider, Chanel            Jason J. Joy & Assciates P.L.L.C.        3:20-cv-16371
      427         Desmarais II, Randall             Jason J. Joy & Assciates P.L.L.C.        3:20-cv-16965
      428          Boundy, Lynnette A               Joel E. Brown & Associates, P.C.         3:20-cv-07013
      429              Reed, Dena                        Johnson Becker, PLLC                3:20-cv-17473
      430           Loo-Lew, Carolyn        Kiesel Law, LLP // LAW OFFICE OF HAYTHAM         3:20-cv-00584
                                                 FARAJ // Martinian & Associates, Inc.

      431           Culver, Barbara A                     Kline & Specter, P.C.              3:20-cv-00384
      432            Barner, Jessica                      Kline & Specter, P.C.              3:20-cv-06022
      433         Kerins, Bernadette M                    Kline & Specter, P.C.              3:20-cv-06154
      434           Krawczyk, Sheryl                      Kline & Specter, P.C.              3:20-cv-07488
      435           Bollinger, Rebecca                    Kline & Specter, P.C.              3:20-cv-07572
      436           Robinson, Felicia                     Kline & Specter, P.C.              3:20-cv-08523
      437         Gonzalez-Sed, Olga M                    Kline & Specter, P.C.              3:20-cv-10063
      438           Quitter, Patricia A                   Kline & Specter, P.C.              3:20-cv-10361
      439            Trainor, Taylor N                    Kline & Specter, P.C.              3:20-cv-10417
      440          Cassel Jr., Joseph T                   Kline & Specter, P.C.              3:20-cv-10442
      441          O'Laughlin, Linda A                    Kline & Specter, P.C.              3:20-cv-12498
      442             Kinsey, Sue R                       Kline & Specter, P.C.              3:20-cv-12500
      443           Chen, James Choi                      Kline & Specter, P.C.              3:20-cv-14652
      444           Grimstad, Tamara                      Kline & Specter, P.C.              3:20-cv-14684
      445          Boyle, Patricia Ann                    Kline & Specter, P.C.              3:20-cv-14704
      446            Bratten, Krystal                     Kline & Specter, P.C.              3:20-cv-14968




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     Row #            Case Name                        Plaintiff Firm(s)           Current Cause #
      447           Ahner, Patricia D                Kline & Specter, P.C.          3:20-cv-15115
      448            Kelly, Laurie J                 Kline & Specter, P.C.          3:20-cv-15192
      449          Schuman, Donna C                  Kline & Specter, P.C.          3:20-cv-16433
      450         Dodge, Susan Kingree               Kline & Specter, P.C.          3:20-cv-18176
      451        Napoli, Maria Christina            Knapp & Roberts, P.C.           3:20-cv-18220
      452        Sorensen-Bauman, Alice             Larsen Advocates, PC            3:20-cv-15265
      453       Plaisance, Marcy Lachney        Law Office of John D. Sileo, LLC    3:20-cv-10115
      454             Acker, Ester              Law Offices of Donald G. Norris     3:20-cv-06836
      455          Williams, Veronica           Law Offices of Donald G. Norris     3:20-cv-09993
      456         Decker Jr., Darryll W         Law Offices of Donald G. Norris     3:20-cv-09997
      457        Paluso, Joseph Thomas          Law Offices of Donald G. Norris     3:20-cv-09998
      458            Wingfield, Mary            Law Offices of Donald G. Norris     3:20-cv-10003
      459            Bunch, Bobby               Law Offices of Donald G. Norris     3:20-cv-10005
      460             Davis, Joy D              Law Offices of Donald G. Norris     3:20-cv-10168
      461            Jones, Rolene              Law Offices of Donald G. Norris     3:20-cv-10282
      462           Johnson, Robert             Law Offices of Donald G. Norris     3:20-cv-10288
      463           Jones, Anthony J            Law Offices of Donald G. Norris     3:20-cv-10332
      464           Brooks, Ramona               Law Offices of Theida Salazar      3:20-cv-10348
      465          Blackmon, Carolyn                 Lenze Lawyers, PLC             3:20-cv-00473
      466           Morimitsu, Maria                 Lenze Lawyers, PLC             3:20-cv-00835
      467           Louviere, Tommy                  Lenze Lawyers, PLC             3:20-cv-06107
      468            Bernand, Judy                   Lenze Lawyers, PLC             3:20-cv-07458
      469             Burke, Eileen                  Lenze Lawyers, PLC             3:20-cv-13549
      470        Northup-Dalton, Sharon              Lenze Lawyers, PLC             3:20-cv-13551
      471          Williamson, Brandy                Lenze Lawyers, PLC             3:20-cv-14834
      472           Braxton, Sandra                  Lenze Lawyers, PLC             3:20-cv-14837
      473             Manus, Patti                   Lenze Lawyers, PLC             3:20-cv-19167
      474           Foster, Shannon                  Lenze Lawyers, PLC             3:20-cv-19285
      475            Higgins, John                 Levin Simes Abrams LLP           3:20-cv-06512
      476         Beasley, Patricia Ann               Linville Law Group            3:20-cv-07469
      477        Hamilton, Linda Dunbar     Lundy, Lundy, Soileau & South, LLP      3:20-cv-19044
      478            Banderet, Joan                 Marlin & Saltzman LLP           3:20-cv-09188
      479           Salgado, Carmela        Mary Alexander & Associates, P.C.       3:20-cv-17795
      480           Morrison, Gerald              McSweeney/Langevin, LLC           3:20-cv-01641
      481            Tarrio, Dytanial             McSweeney/Langevin, LLC           3:20-cv-03057
      482           Matthews, Ronald              McSweeney/Langevin, LLC           3:20-cv-03329
      483            Burrell, Melva               McSweeney/Langevin, LLC           3:20-cv-14832
      484           Slenker, Thomas               McSweeney/Langevin, LLC           3:20-cv-15204
      485             Venters, Lisa               McSweeney/Langevin, LLC           3:20-cv-18645
      486          Bernard, Nathaniel             McSweeney/Langevin, LLC           3:20-cv-19651
      487             Janzen, Tom                 Meshbesher & Spence, Ltd.         3:20-cv-15191
      488             Singh, Savitri                   Morgan & Morgan              3:20-cv-05421
      489          St. Pierre, Marielle             Morrell Law Firm, PLLC          3:20-cv-08662
      490            Wiles, Gary D               Motley Rice New Jersey LLC         3:20-cv-11896
      491           Buckie, Judith A             Motley Rice New Jersey LLC         3:20-cv-12718



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     Row #             Case Name                      Plaintiff Firm(s)       Current Cause #
      492         Mehochko, Rebecca J            Motley Rice New Jersey LLC    3:20-cv-13057
      493            Delaune, Gary L             Motley Rice New Jersey LLC    3:20-cv-13186
      494         Oyebamiji, Shalonda M          Motley Rice New Jersey LLC    3:20-cv-13199
      495             Nunez, Mary R              Motley Rice New Jersey LLC    3:20-cv-13324
      496              Jaggi, Lael R             Motley Rice New Jersey LLC    3:20-cv-14121
      497            Owens, Susan R              Motley Rice New Jersey LLC    3:20-cv-14136
      498             Kirk, Kimberly             Motley Rice New Jersey LLC    3:20-cv-14696
      499             Ponoci, Lumto              Motley Rice New Jersey LLC    3:20-cv-14765
      500         Rosen, Elizabeth Jayne         Motley Rice New Jersey LLC    3:20-cv-14852
      501            Welch, Margaret             Motley Rice New Jersey LLC    3:20-cv-15461
      502          Jacobsen, Angela C                 Motley Rice, LLC         3:20-cv-00082
      503           Harvey, Joyce Ann                 Motley Rice, LLC         3:20-cv-00305
      504             Thorn, Doris E                  Motley Rice, LLC         3:20-cv-00318
      505          Sawyers, Karen Sue                 Motley Rice, LLC         3:20-cv-00378
      506           Bonta, Maureen K                  Motley Rice, LLC         3:20-cv-00779
      507           Alverson, Sandra K                Motley Rice, LLC         3:20-cv-01299
      508            Riaz, Rashda B                   Motley Rice, LLC         3:20-cv-01371
      509           Hamby, Dorothy T                  Motley Rice, LLC         3:20-cv-01375
      510            Goods, Lolita E                  Motley Rice, LLC         3:20-cv-01376
      511          Samuels, Debora E                  Motley Rice, LLC         3:20-cv-01378
      512              Beys, Thalia                   Motley Rice, LLC         3:20-cv-01382
      513             Ferch, Therese                  Motley Rice, LLC         3:20-cv-01413
      514          Thurmond, Margaret                 Motley Rice, LLC         3:20-cv-01935
      515            O'Neal, Bonnie L                 Motley Rice, LLC         3:20-cv-02258
      516         Shuman, Tracey Renee                Motley Rice, LLC         3:20-cv-02270
      517             Hirsch, Diane                   Motley Rice, LLC         3:20-cv-02298
      518             Celauro, Luigia                 Motley Rice, LLC         3:20-cv-02299
      519        Rodriguez-Garcia, Laynys             Motley Rice, LLC         3:20-cv-02300
      520           Kelley, Mary Beth                 Motley Rice, LLC         3:20-cv-02302
      521             Brazil, Kevin W                 Motley Rice, LLC         3:20-cv-02322
      522            Mikula, Wendy F                  Motley Rice, LLC         3:20-cv-02500
      523          Leppig, Mary Susan                 Motley Rice, LLC         3:20-cv-02516
      524            Pulido, Joseph A                 Motley Rice, LLC         3:20-cv-02560
      525            Vorell, James A                  Motley Rice, LLC         3:20-cv-03060
      526             Eason, Onneta                   Motley Rice, LLC         3:20-cv-03111
      527            Bryant, Randalle                 Motley Rice, LLC         3:20-cv-03237
      528          Cukovic, Aleksandra                Motley Rice, LLC         3:20-cv-03374
      529         Cunningham, Virginia K              Motley Rice, LLC         3:20-cv-03410
      530          Griffith, Diana Rose               Motley Rice, LLC         3:20-cv-03416
      531          Graham, Billie Evelyn              Motley Rice, LLC         3:20-cv-03465
      532            Cannon, Eldora                   Motley Rice, LLC         3:20-cv-03720
      533           Wimmer, Tammy V                   Motley Rice, LLC         3:20-cv-03749
      534        Wolfram, Mary Catherine              Motley Rice, LLC         3:20-cv-03751
      535             Alvillar, Helen                 Motley Rice, LLC         3:20-cv-04339
      536           Sotello, Joyce Ann                Motley Rice, LLC         3:20-cv-04340



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     Row #            Case Name                 Plaintiff Firm(s)   Current Cause #
      537            Compton, Mary              Motley Rice, LLC     3:20-cv-05226
      538           Martin, Dale Lee            Motley Rice, LLC     3:20-cv-05561
      539       Johnson Smith, Jacqualyn        Motley Rice, LLC     3:20-cv-05621
      540         Morgan, Catherine M           Motley Rice, LLC     3:20-cv-05680
      541          Stackman, Garrett            Motley Rice, LLC     3:20-cv-05709
      542          O'Neill, Kathleen A          Motley Rice, LLC     3:20-cv-05714
      543            Chavez, David              Motley Rice, LLC     3:20-cv-05773
      544          Anderson, Linda L            Motley Rice, LLC     3:20-cv-06168
      545          Sizemore, James C            Motley Rice, LLC     3:20-cv-06287
      546             Flores, Rene              Motley Rice, LLC     3:20-cv-06295
      547           Koons, Jacklyn A            Motley Rice, LLC     3:20-cv-06386
      548         D'Ambrose, Patricia A         Motley Rice, LLC     3:20-cv-06484
      549            Starr, Vickie L            Motley Rice, LLC     3:20-cv-06500
      550            Kelly, Kevin M             Motley Rice, LLC     3:20-cv-06591
      551           Williams, Mary S            Motley Rice, LLC     3:20-cv-06603
      552           Rogers, Linda L             Motley Rice, LLC     3:20-cv-06675
      553            Thomas, Tanya              Motley Rice, LLC     3:20-cv-06766
      554           Russo, Shawna J             Motley Rice, LLC     3:20-cv-06797
      555        Jackson, Tameka Yvette         Motley Rice, LLC     3:20-cv-06826
      556            Farmer, Tia D              Motley Rice, LLC     3:20-cv-06830
      557             Ellis, Bruce C            Motley Rice, LLC     3:20-cv-07400
      558           Andrade, Manuel             Motley Rice, LLC     3:20-cv-07401
      559           Bisura, Bonnie J            Motley Rice, LLC     3:20-cv-07612
      560         Ackley, Christopher J         Motley Rice, LLC     3:20-cv-08115
      561            Ross, Carol A              Motley Rice, LLC     3:20-cv-08236
      562           Henson, Denise L            Motley Rice, LLC     3:20-cv-09131
      563          McCann, Brittany H           Motley Rice, LLC     3:20-cv-09398
      564           Pizinger, Caryl L           Motley Rice, LLC     3:20-cv-09547
      565           Siemen, Tina M              Motley Rice, LLC     3:20-cv-09603
      566           Cherry, David G             Motley Rice, LLC     3:20-cv-09862
      567           Shively, Holly M            Motley Rice, LLC     3:20-cv-12326
      568            Becker, Gary D             Motley Rice, LLC     3:20-cv-13395
      569           Eastman, Linda C            Motley Rice, LLC     3:20-cv-13830
      570        Thompson, Helen Faye           Motley Rice, LLC     3:20-cv-13840
      571         Marzka Sr., Daniel W          Motley Rice, LLC     3:20-cv-13985
      572          Junes, Peggy Jean            Motley Rice, LLC     3:20-cv-14064
      573           Smith, Cynthia M            Motley Rice, LLC     3:20-cv-14066
      574        Moellendorf, Maralee A         Motley Rice, LLC     3:20-cv-14160
      575          Watters, Denise M            Motley Rice, LLC     3:20-cv-14166
      576          Castello, Steven W           Motley Rice, LLC     3:20-cv-14168
      577            Slavin, Elyse C            Motley Rice, LLC     3:20-cv-14228
      578           Italiano, Victor J          Motley Rice, LLC     3:20-cv-14490
      579           Austin, Janice K            Motley Rice, LLC     3:20-cv-14584
      580             Boris, Judi L             Motley Rice, LLC     3:20-cv-14606
      581           Bourque, Mary H             Motley Rice, LLC     3:20-cv-14654



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     Row #             Case Name                          Plaintiff Firm(s)               Current Cause #
      582           Argueta, Maria R                     Motley Rice, LLC                  3:20-cv-14733
      583         Kirkwood, Lessie Mae                   Motley Rice, LLC                  3:20-cv-14734
      584              Reilly, Alice       Napoli Bern Ripka Shkolnik & Associates, LLP    3:20-cv-04072

      585            Watson, James         Napoli Bern Ripka Shkolnik & Associates, LLP    3:20-cv-06757

      586            Sadler, Drew H        Napoli Bern Ripka Shkolnik & Associates, LLP    3:20-cv-12729

      587          Bradley, Edward J       Napoli Bern Ripka Shkolnik & Associates, LLP    3:20-cv-14435

      588           Quevedo, Rita P                    Napoli Shkolnik, PLLC               3:20-cv-03364
      589         Carlson, Kimberly A                  Napoli Shkolnik, PLLC               3:20-cv-03366
      590             Kyles, Breana                    Napoli Shkolnik, PLLC               3:20-cv-04066
      591            Bolger, Dennis                Phillies Worthington and Allen          3:20-cv-12389
      592             Daly, Sianead                   Phillips & Paolicelli, LLP           3:20-cv-09084
      593            Bocko, Donna                         Potts Law Firm                   3:20-cv-01322
      594             Zirbel, Dianne                      Potts Law Firm                   3:20-cv-01326
      595            Hatfield, Teresa                     Potts Law Firm                   3:20-cv-18736
      596            Bush, Margaret                   Pribanic & Pribanic, LLC             3:20-cv-03407
      597            Lunardini, Gary                  Pribanic & Pribanic, LLC             3:20-cv-05545
      598          Fagan, Philip R., Jr.              Pribanic & Pribanic, LLC             3:20-cv-06283
      599             Bell, Barbara                   Pribanic & Pribanic, LLC             3:20-cv-12791
      600            Worrall, James                            Pro se                      3:20-cv-01152
      601         Robinson, Maurice E.                         Pro se                      3:20-cv-12443
      602          Williams, Kirk et al                        Pro se                      3:20-cv-20423
      603             Orah, Debra                   Provost Umphrey Law Firm               3:20-cv-01732
      604            Lasneski, Dale                 Provost Umphrey Law Firm               3:20-cv-12679
      605         Ehrenborg, Jeannette            Rappaport, Glass, Levine & Zullo         3:20-cv-05857
      606           Thompson, Helen               Rappaport, Glass, Levine & Zullo         3:20-cv-05863
      607           Ortolano, Nance                    Reich & Binstock, LLP               3:20-cv-03016
      608            White, Marsha                     Reich & Binstock, LLP               3:20-cv-03018
      609             Edlund, Judy                     Reich & Binstock, LLP               3:20-cv-03034
      610           Lester, Deborah                    Reich & Binstock, LLP               3:20-cv-03037
      611             Overton, Toni                    Reich & Binstock, LLP               3:20-cv-03038
      612         Madaj-Berger, Judith                 Reich & Binstock, LLP               3:20-cv-03040
      613          Derbyshire, Aimee                   Reich & Binstock, LLP               3:20-cv-03042
      614            Ouellette, Maria                  Reich & Binstock, LLP               3:20-cv-03043
      615           Bolstad, Deborah                   Reich & Binstock, LLP               3:20-cv-05667
      616            Hatterman, Pat                    Reich & Binstock, LLP               3:20-cv-05669
      617            Smith, Sandra                     Reich & Binstock, LLP               3:20-cv-05671
      618          Batchelor, Brenda                   Reich & Binstock, LLP               3:20-cv-05672
      619            Johnson, Lydia                    Reich & Binstock, LLP               3:20-cv-05674
      620            Holder, Rosetta                   Reich & Binstock, LLP               3:20-cv-05677
      621             Bailey, Hilda                    Reich & Binstock, LLP               3:20-cv-05681
      622           Ebrahimi, Patricia                 Reich & Binstock, LLP               3:20-cv-05685
      623            Pickett, Janice                   Reich & Binstock, LLP               3:20-cv-05688




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     Row #             Case Name                            Plaintiff Firm(s)                 Current Cause #
      624             Jordan, Rosie          Robinson, Calcagnie, Robinson, Shapiro, Davis,    3:20-cv-01692
                                                                  Inc.
      625            Glover, Melissa         Robinson, Calcagnie, Robinson, Shapiro, Davis,    3:20-cv-02673
                                                                  Inc.
      626           Dorsey, Roderick         Robinson, Calcagnie, Robinson, Shapiro, Davis,    3:20-cv-02675
                                                                  Inc.
      627      Magana, Guadalupe Arrayales   Robinson, Calcagnie, Robinson, Shapiro, Davis,    3:20-cv-06578
                                                                  Inc.
      628            Matthews, Robin         Robinson, Calcagnie, Robinson, Shapiro, Davis,    3:20-cv-08741
                                                                  Inc.
      629          Lomack, Susannah          Robinson, Calcagnie, Robinson, Shapiro, Davis,    3:20-cv-10461
                                                                  Inc.
      630           Perkins, Michelle        Robinson, Calcagnie, Robinson, Shapiro, Davis,    3:20-cv-10985
                                                                  Inc.
      631            De Alba, Olivia         Robinson, Calcagnie, Robinson, Shapiro, Davis,    3:20-cv-11078
                                                                  Inc.
      632           Eaton, Nancy May                    Ross Law Offices, P.C.                 3:20-cv-00499
      633            Karahalis, Paula                    Ross Law Offices, P.C.                3:20-cv-04994
      634          Kelley, Bruce Lewin                   Ross Law Offices, P.C.                3:20-cv-05737
      635              Parker, Jami                  Sanders Phillips Grossman, LLC            3:20-cv-03684
      636          Duran, III, Hector D                    Shaw Cowart, LLP                    3:20-cv-01471
      637          Ferguson, Thomas J                     Sill Law Group, PLLC                 3:20-cv-11783
      638             Dotson, Maria                      Simmons Hanly Conroy                  3:20-cv-10755
      639            Keefover, Betty                  Slater, Slater, Schulman, LLP            3:20-cv-09333
      640            Jones, Shannon                   Slater, Slater, Schulman, LLP            3:20-cv-12138
      641         McElmurray, Krystal R               Slater, Slater, Schulman, LLP            3:20-cv-13724
      642           Flores, Anamaria                  Slater, Slater, Schulman, LLP            3:20-cv-15529
      643            Keller, Melanie                  Slater, Slater, Schulman, LLP            3:20-cv-16158
      644             Taylor, Leigh          Sullivan Papain Block McGrath & Cannavo P.C.      3:20-cv-12801

      645            Parshall, Shirley       Sullivan Papain Block McGrath & Cannavo P.C.      3:20-cv-12808

      646           Diliberto, Carol A       Sullivan Papain Block McGrath & Cannavo P.C.      3:20-cv-12829

      647             Vilord, Laurie         Sullivan Papain Block McGrath & Cannavo P.C.      3:20-cv-12899

      648           Lopresti, Joanna M       Sullivan Papain Block McGrath & Cannavo P.C.      3:20-cv-13984

      649          Gamelin, Rosemary         Sullivan Papain Block McGrath & Cannavo P.C.      3:20-cv-15437

      650             Hobbs, Sarah           Sullivan Papain Block McGrath & Cannavo P.C.      3:20-cv-15439

      651            Trayan, Teresa          Sullivan Papain Block McGrath & Cannavo P.C.      3:20-cv-16223

      652             Woods, Ruby                         Sweet & Associates                   3:20-cv-07935
      653              Hicks, Ruby                        Sweet & Associates                   3:20-cv-07954
      654           Hamilton, Marian                      Sweet & Associates                   3:20-cv-07956
      655              Dent, Maria                        Sweet & Associates                   3:20-cv-07965
      656              Dent, Annie                        Sweet & Associates                   3:20-cv-08013
      657             Hardy, Evelyn                       Sweet & Associates                   3:20-cv-08031
      658           Anyanw, Cathryn                       Sweet & Associates                   3:20-cv-08048
      659            Barnett, Glenda                  The Benton Law FIrm, PLLC                3:20-cv-12845
      660             Merry, Wanda                    The Benton Law FIrm, PLLC                3:20-cv-13052




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     Row #             Case Name                      Plaintiff Firm(s)       Current Cause #
      661             Gandy, Elvin               The Benton Law FIrm, PLLC     3:20-cv-13469
      662           Maples, Reinesha             The Benton Law FIrm, PLLC     3:20-cv-14388
      663            Hauser, Kenneth             The Benton Law FIrm, PLLC     3:20-cv-15028
      664          Rousseau, Deborah             The Benton Law FIrm, PLLC     3:20-cv-15059
      665             Green, Joseph              The Benton Law FIrm, PLLC     3:20-cv-15074
      666            Mendez, Shirley             The Benton Law FIrm, PLLC     3:20-cv-15647
      667        Singleton-Gaboian, Linda        The Benton Law FIrm, PLLC     3:20-cv-15911
      668          San Nicolas, Diana            The Benton Law FIrm, PLLC     3:20-cv-16446
      669             Ratliff, Robyn             The Benton Law FIrm, PLLC     3:20-cv-18391
      670              Mata, Elvia               The Benton Law FIrm, PLLC     3:20-cv-18584
      671              Wyatt, Carla                 The Cuffie Law Firm        3:20-cv-20718
      672             Rios, Dwayne                The Diaz Law Firm, PLLC      3:20-cv-06183
      673         Stephens, Krissandra             The Driscoll Firm, LLC      3:20-cv-03324
      674            Green, Jennifer               The Driscoll Firm, LLC      3:20-cv-05386
      675              Perez, Mary                 The Driscoll Firm, LLC      3:20-cv-05393
      676            Witter, Deborah               The Driscoll Firm, LLC      3:20-cv-05395
      677             Segui, Alyssa                The Driscoll Firm, LLC      3:20-cv-05400
      678               Simmons                    The Driscoll Firm, LLC      3:20-cv-14264
      679         Hudson-Givens, Lydia             The Dunken Law Firm         3:20-cv-09017
      680           Richardson, Lucy             The Ferraro Law Firm, P.A.    3:20-cv-00047
      681          Musseau, Catherine            The Ferraro Law Firm, P.A.    3:20-cv-14752
      682            Loomis, Jennie                The Freeman Law Firm        3:20-cv-14538
      683            Meyers, Lucille               The Freeman Law Firm        3:20-cv-14603
      684             Shell, Lauren                 The Miller Firm, LLC       3:20-cv-15837
      685             Getty, Deena                  The Segal Law Firm         3:20-cv-12727
      686              Shull, Kimeri                The Segal Law Firm         3:20-cv-14963
      687        Crockett-Turner, Sharon            The Segal Law Firm         3:20-cv-15576
      688           Oberg, Deborah A                The Segal Law Firm         3:20-cv-15915
      689            Smith, Tarnasha                The Segal Law Firm         3:20-cv-16263
      690            Payton, Kenneth                The Segal Law Firm         3:20-cv-16355
      691           Swope, James W                  The Segal Law Firm         3:20-cv-16408
      692           Brown, Shirlene D               The Segal Law Firm         3:20-cv-17022
      693          Williams, Shavonne               The Segal Law Firm         3:20-cv-17041
      694           Daniels, Frederica              The Segal Law Firm         3:20-cv-17060
      695           Farrar, Patricia E              The Segal Law Firm         3:20-cv-17067
      696           Brown, Kimberly D               The Segal Law Firm         3:20-cv-18362
      697           Dawson, Pamela                  The Segal Law Firm         3:20-cv-18396
      698             Butler, Laura                 The Segal Law Firm         3:20-cv-18507
      699            Bogard, Teresa                 The Segal Law Firm         3:20-cv-18620
      700              White, Erica                 The Segal Law Firm         3:20-cv-18673
      701             Jeffries, Joan                The Segal Law Firm         3:20-cv-19169
      702             Bader, Dawn                   The Segal Law Firm         3:20-cv-19544
      703            Jordan, LaKisha                The Segal Law Firm         3:20-cv-19615
      704            Person, Tranetta               The Segal Law Firm         3:20-cv-20218
      705            Mapp, Virginia B               The Segal Law Firm         3:20-cv-20224



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     Row #           Case Name                   Plaintiff Firm(s)       Current Cause #
      706          Sasala, Shannon             The Segal Law Firm         3:20-cv-20244
      707          Hayes, Roxanne          The Whitehead Law Firm, LLC    3:20-cv-10125
      708           Price, Forest A        The Whitehead Law Firm, LLC    3:20-cv-13188
      709          Whitehead, John            Thornton Law Firm LLP       3:20-cv-02633
      710          Osborne, Janice            TorHoerman Law LLC          3:20-cv-20245
      711          Lamont, Patricia               Trammell PC             3:20-cv-18630
      712           Joslyn, Robin                 Trammell PC             3:20-cv-20045
      713           Carnley, Steve             Wexler Wallace LLP         3:20-cv-09665




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